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AFFIDAVIT OF MICHAEL BELLI
IN SUPPORT OF AN APPLICATION FOR CRIMINAL COMPLAINT

1, Michael Belli, do hereby depose and state as follows:

1. I am a Special Agent with the United States Department of Homeland Security
(“DHS”), Homeland Security Investigations (“HSI”) assigned to the Boston Field Office. I have
been employed by HSI and its predecessor, the United States Customs Service, since May 2001.
I am currently assigned to the Port Investigations Group. Prior to this assignment, I was assigned
to the Transnational Organized Crime Group and the HSI-led High Intensity Drug Trafficking
Areas (““HIDTA”) Financial Task Force. Prior to my assignment to the Boston Field Office, I
was assigned to the Los Angeles Field Office, where I was assigned to the United States
Customs Service-led money laundering and narcotic smuggling task force. In connection with
my official duties, I have investigated and assisted other agents in investigating numerous cases
involving a wide range of criminal violations, including, money laundering, weapons and
narcotics trafficking activities of Transnational Criminal Organizations and criminal street gangs.
As a Special Agent, I am an “investigative or law enforcement officers of the United States”
within the meaning of Title 18, United States Code, Section 2510(7) and thereby authorized to
request the issuance of federal search and arrest warrants.

2. I know that 26 U.S.C. § 5861(d) provides that “It shall be unlawful for any person...to
receive or possess a firearm which is not registered to him in the National Firearms Registry
Transfer Record...”. I submit this affidavit in support of a criminal complaint for Bruce Sartwell
(“SARTWELL”) (DOB xx/xx/1971) based upon probable cause that he has committed the

above-offense.
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3. The facts stated herein are known to me through my investigation and through
observations made by others with whom I have spoken. This affidavit does not contain all the
facts known to me but rather only those which are sufficient to establish probable cause for the
requested criminal complaint for SARTWELL.
PROBABLE CAUSE

Background on SARTWELL
4. SARTWELL is a United States citizen who resides at an address in East Bridgewater,
Massachusetts (“SARTWELL RESIDENCE”). He resides there with his wife and two teenage
children. He owns a tattoo shop in Brockton, MA. Based on conversations that I have had with
other members of law enforcement and through open source media searches, SARTWELL is the
Regional President of the Brockton/East Bridgewater Chapters of the Outlaws Motorcycle Club
(“MC”). SARTWELL’s moniker for the Outlaws MC is “Monster.” I have reviewed
SARTWELL’s criminal history in Massachusetts with arrests and arraignments dating back to
1987. He is a convicted felon.
5. In addition to the above mentioned encounters with law enforcement, I am aware that
federal, state and local law enforcement investigators executed a search warrant on the home of
Bruce “Monster” Sartwell in Abington, Massachusetts on or about June 16, 2010. Public record
databases indicated that the affidavit noted SARTWELL was the president of the East Boston
chapter of the Outlaws MC. During the execution, law enforcement seized, among other things,
Outlaws gang paraphernalia and multiple computers. Also found, but not seized, were three

black powder rifles in SARTWELL’s master bedroom closet and one black powder pistol and
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one black powder rifle from under the bed in SARTWELL’s master bedroom.' A query of
Massachusetts firearms databases at the time of the June 2010 search warrant revealed that
SARTWELL’s wife possessed a valid Massachusetts License to Carry (“LTC”) Firearm, but did
not have any firearms registered to her in the state of Massachusetts.
6. A review of Massachusetts LTC Firearms records reveals that SARTWELL had a
LTC that was issued in 1992 and expired in 1999. SARTWELL’s wife had a LTC that issued in
2008 and expired in 2014. Per CJIS, there were five firearms still registered to SARTWELL
despite his LTC expiring in 1999. There are no firearms registered to his wife.

Background on Active and Ongoing MC Feud
7. SARTWELL is an admitted member of the Outlaws MC, an outlaw motorcycle gang
(“OMG”), and President of the East Bridgewater/Brockton Chapter. These gangs utilize
violence, fear and intimidation to impose their will, make money and protect criminal
enterprises. Other than law enforcement, OMGs greatest threat are rival OMGs. Law
enforcement is aware that the Outlaws MC and Hells Angels MC are involved in a violent feud
with one another.
8. I am aware that on or about April 7, 2019 in Plymouth, Massachusetts, a large group
of Sidewinder MC (Hells Angels MC affiliate club) members and Outlaws MC members
attended a mixed martial arts match. Following the match, both sides exited the auditorium and
Outlaws members taunted Sidewinder members. Heavy police presence and utilization of police

K-9’s helped to avoid a physical altercation on this date.

 

‘| am aware that these are all “antique firearms” and therefore do not meet a legal definition of
firearm under federal law.
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9, Additionally, on or about September 13, 2019, an Outlaws MC member had a physical
confrontation with a Sidewinder MC member in Fall River, Massachusetts. This altercation
resulted in the shooting death of the Sidewinder member allegedly by the Outlaws member who
has since been charged with murder.

Background of Investigation
10. On October 30, 2019 around 9:30AM, federal agents executed a search warrant at
SARTWELL’s RESIDENCE, for evidence, fruits and instrumentalities of violations of 18
U.S.C. § § 922(g)(1) and 545 and 26 U.S.C. §§ 5861(b), (d), and (k).
11. Agents learned on or about October 19, 2019 that a shipment of a firearm silencer, as
defined under 18 U.S.C. § 921(a)(24), contained in a United States Postal Service (“USPS”)
international mail parcel originating from China seized by Customs Border Protection (“CBP”)
officers at the John F. Kennedy International Airport (“JFK”) mail facility in New York, New
York. The shipment was addressed to “Bruce SARTWELL” at SARTWELL’S RESIDENCE
was declared as a “Fuel Filter” with a listed quantity of (1) and a declared value of $0.78.
12, ATF deemed the item inside the package labeled as “Fuel Filter” to be a firearm
silencer, as defined under 18 U.S.C. § 921(a)(24). I am aware that a silencer can be placed on the
end of a barrel of a firearm in order to muffle, silence or suppress the noise of the firearm when
fired. A silencer can only be used in conjunction with a firearm, Otherwise, there is no purpose
in purchasing or possessing a silencer if you do not currently possess or anticipate purchasing a
firearm, or intend to sell the silencer to someone who owns or intends to own a firearm. Based on

my training and experience, individuals who purchase or seek to obtain a silencer almost always
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either possess or seek to possess a firearm compatible with the silencer or are engaged in the
business of selling firearms, silencers and other firearm related equipment or accessories.
SARTWELL’s Other Imports
13. From a review of DHS importation records, approximately sixty-five (65) shipments
from Asia (over 55 of those from China) were sent to Bruce SARTWELL at SARTWELL’S
RESIDENCE since December 25, 2018.
14. A review of DHS importation records to the Target Premises, that is, SARTWELL’s
RESIDENCE, revealed that two (2) shipments from China to SARTWELL had cargo item
description labels as “ACROSS THE BELT” and “HOLSTER” on June 24, 2019 and June 27,
2019, respectively. Based on my training and experience, I believe that “ACROSS THE BELT”
and “HOLSTER” both refer to holsters meant to hold firearms on one’s person. During this same
time period, DHS importation records also reflect that packages imported to SARTWELL’s
RESIDENCE included other more innocuous items that can easily be purchased at stores and on
websites in the United States would not normally be imported from China directly by the
consumer. Some of these cargo item descriptions include: “BOTTLE OPENER,” “GLASS
CUP,” “RUBBER GLOVES,” “OUTDOOR TOOL,” and “SCREW THREAD DRILL BITS.”
15. Given that SARTWELL’s inbound package labeled “FUEL FILTER” in fact contains
an illegal firearm silencer and based on my training and experience, I believe that the packages
referenced in paragraph 16, and other packages sent to the Target Premises, in fact contained
contraband or goods that could be deemed unlawful if they were identified by their actual names
on the packaging. This is especially true because the shipping costs associated with sending the

above listed cargo items straight to the consumer from China would likely be higher and more
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expensive than the value of the items themselves. Additionally, items imported into the United
States from another country would need to be appropriately declared at the time of entry.
Further, [ have reason to believe that, where, SARTWELL is importing an illegal item like a
silencer labeled as “FUEL FILTER,” that such mislabeling is done so deliberately to hide from
CBP the true identity of the import. Additionally, where SARTWELL is importing a silencer and
items that are labeled “HOLSTER” or “ACROSS THE BELT,” that SARTWELL intends to use
the silencer and holster in conjunction with a firearm. Additionally, there would be no other
reason for SARTWELL to purchase a firearm silencer other than to use it on a firearm that he
possesses or intends to possess or sell it to someone else who intends to use it on a firearm.
16. DHS importation records also listed approximately 35 shipments from Asia
(approximately 32 of those from China) to Bruce SARTWELL at his former address in East
Bridgewater, Massachusetts during a period of June 28, 2013 through October 19, 2018.

Search Warrant Execution
17. As noted, agents executed a search warrant on SARTWELL’s residence on October
30, 2019. Prior to the execution, the package containing the firearm silencer labeled “FUEL
FILTER” was the subject of a controlled delivery by members of USPS. When the controlled
deliverer brought the package to the residence, SARTWELL accepted and signed for the package
and began walking through his enclosed backyard towards his garage with the package, along
with two other packages.
18. Agents spoke with SARTWELL briefly after he was Mirandized. During the
conversation, he admitted that he received the silencer in the mail, but claimed that the

suppressor, like this one, which he receives “every day” are from an open app known as “Wish
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App” and “wish.com” and that it is an Airsoft suppressor. When confronted with the fact that it
was deemed illegal and a firearm under federal law, he indicated that he bought it on an open
“app”? and that the “app” should not sell things like that if they are illegal. He indicated that all
of his stuff in the garage was Airsoft. SARTWELL when asked about the last time he handled a
firearm, he indicated that it was approximately twenty five years ago.

19. Agents began their search. The garage had a motorcycle in it registered to
SARTWELL. Also in the garage, hoisted onto the wall were at least a dozen large Airsoft style
weapons that had the appearance of real weapons to the average civilian. Within the garage was
a street-like sign hanging up with the name of “Monster Way” on it. Also decorating the garage
were various other Outlaw MC gang vests and banners.

20. The garage also had a workshop area in the form of an “L-shaped” freestanding
wooden bar. During the search of the L-shaped bar area, agents also located underneath the bar
two hidden compartments — one on each side of the bar. In the hidden compartment to the right-
hand side, agents located two milling plates. I am aware that a milling plate serves as a template
to drill out a receiving for a firearm. Also on the right side of the bar, on a shelf in the corner,
agents located a buffer spring and buffer tube. I am aware that a buffer spring is a firearm part
used to assist with the recoil of a rifle when fired. 1 am aware that a buffer tube is a piece of a
rifle that the buffer spring fits inside.

21. On the left hand side of the bar, agents located another hide. Specifically, it appeared

to be a two by four width of space between the outer and inner wall and plywood screwed onto

 

2 He was believed to reference a cell phone application which one uses to make online purchases.

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that space as if to hide items behind the plywood. When agents removed the plywood, they
located what they believed to be a “ghost gun” on one of the shelves.

22. I am aware that a “ghost gun” is a firearm without any manufacturing or serial
numbers that allow it to be traced. An ATF agent present on scene examined this “ghost gun.”
The ATF agent indicated that this item was short-barreled, AR-15 styled rifle. The
frame/receiver was not marked in any way with a manufacturer or serial number on it. Based on
the ATF agent’s training and experience, this item was consistent with an unfinished lower
receiver that had been since finished or manufactured into a completed firearm. In order for it to
become a completed firearm, an individual needed to use milling equipment and other tools, such
as a drill press, dremel tool, and AR-15 jig plates. The ATF agent performed a field function test
where the charging handle is operated and the trigger was pulled and the hammer fell forward.
The ATF agent found the item to function as an operable firearm should function. The ATF
agent measured the firearm. The overall length was 24 inches and the barrel length was
approximately 9 inches, thus meeting the legal definition of firearm as defined under 26 U.S.C.
§§ 5845(a) (3) and (4). Due to the measurements of the firearm, it is subject to the provisions of
the National Firearms Act, which requires the firearm to be registered.

23. ATF indicated that there is no record of SARTWELL applying for or receiving
approval from the Secretary for the transfer, receipt or possession and registration of the firearm
to the transferee as required. ATF also confirmed that SARTWELL does not have any firearms
registered to him nor pending approved transfers in the National Firearms Registration &

Transfer Record. Therefore, possession of this firearm is in violation of federal law.
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24. To the right of the L-shaped bar, agents located a part guide for the assembly and
disassembly of an AR-15 rifle. The parts listed on the part guide included a buffer, buffer spring,
and butt stock, all of which were items located in the garage area.

25. On a work table, across the garage from the bar, agents located an air-powered water
dremel polisher which I know from training and experience is used to cool a gun after milling.
To the left of the water dremel was a work bench and on that agents located a drill press. I know
that a drill press is used for drilling out a lower receiver during the creation of a firearm. Near the
water dremel, agents located a large toolbox on wheels. Inside a false bottom in the toolbox,
agents located a firearm silencer, as defined under federal law.

26. Also in the workshop in a drawer to an end table, agents located another false
bottom/hidden compartment. In this compartment, agents located an additional silencer, as
defined by 18 U.S.C. § 921(a)(24).

27. As law enforcement was dismantling the L-shaped bar, SARTWELL’s wife went to
the garage and went back up to SARTWELL, who was sitting inside the three-seasoned porch.
SARTWELL’s wife told SARTWELL that “they are taking apart your bar.” In response to this,
agents saw a noticeable change in SARTWELL’s demeanor.

28. Inside the house, agents located multiple black powder rifles and guns. In
SARTWELL’s bedroom, in a hide in a bedside table, agents located a digital scale in a hidden
drawer. Also in that same drawer were approximately twenty knives. Agents also located a black
powder handgun, a flare gun and a taser with six cartridges in it. Additionally, agents located in
this same hidden compartment a box of approximately 150 rounds of 5.56mm ammunition,

which I know to be high velocity rounds of ammunition. The ATF agents opined that the 150
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rounds of 5.56 ammunition located in the hidden compartment in the bedside table drawer were
compatible with the AR-15 style rifle found in the garage.

29. In the basement of the house, agents noticed a floor-length mirror against the wall.
Upon sliding that mirror over, agents realized that this floor-length mirror concealed a hidden
storage area with a filing cabinet and other items. In the back of this hidden room, agents noticed
a bureau and a peg board. When agents moved the peg board to the side, they located a hidden
safe with silencer parts and an instruction book about how to mill out an AR-15 weapon.

30. An additional package addressed to SARTWELL and delivered today by the USPS
agent contained Level Three ceramic breast plate, which is more commonly known as body

armor, consistent with body armor supplied to military and tactical law enforcement members.

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CONCLUSION
al. Based upon the foregoing, there is probable cause to believe that:
a. On or about October 30, 2019 in East Bridgewater, Massachusetts, Bruce Sartwell
possessed a firearm, to wit: an AR-15 styled rifle with a barrel length of less than 16
inches and a overall length of less than 26 inches, which is not registered to him in the

National Firearms Registration and Transfer Record, in violation of 26 U.S.C. § 5861 (d).

Sworn to under pains and penalties of perjury,

M1 M0

MICHAEL BELLI
SPECIAL AGENT, HSI

 

Sworn and subscribed to batten me ne tis ey of October 2019.
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